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       EXHIBIT H
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                  M21163

                     3.2Gbps 32 Port Reconfigurable Non-Blocking
DEVICE OVERVIEW




                     Crosspoint Switch
                                                                                                           > The M21163 is Ideal For
                     The M21163 is a very low power, reconfigurable, 32 port, non-blocking
                     digital crosspoint switch. The device is optimized for power and                         Signal switching
                     performance for data frequencies of up to 3.2 Gbps, including Serial
                     Digital Interface (SDI) video data rates.                                                Fanout buffers
                     The M21163 is designed to provide the designer with the utmost
                     choice and flexibility. With 24 reconfigurable input/output ports                        Backplane equalizing and
                     and 8 dedicated output ports, it may be used to create any square and
                     non-square matrix size, from 24x8, to 16x16, to 1x31 and every size in
                                                                                                               re-driving
                     between.                                                                                 3G/HD/SD-SDI switchers
                     The M21163 includes signal conditioning to compensate for losses
                     accumulated across long board traces, making it ideal for high-speed                      and routers
                     backplane switching applications. Each input/output port features
                     individually programmable trace equalization when configured as an
                     input, and individually programmable de-emphasis and output swing,
                     when configured as an output. The dedicated output ports have
                     individually programmable de-emphasis and swing control.
                     For lowest power consumption and ease of heat dissipation
                     management, the device may be powered from a single 1.2 V supply.
                     For ease of design and when DC coupling to a voltage other than 1.2 V
                     is desired, the high-speed input and output ports, as well as the digital
                     interface, may be powered from a 1.2 V, 1.8 V, 2.5 V or 3.3 V supply.
                     Furthermore, the input/output ports include on-chip 50 Ω termination
                     and are electrically isolated from one another, allowing each to be
                     powered from and terminated to a different voltage rail. This provides
                     additional flexibility as each port on the device may be DC coupled to
                     upstream and downstream devices with different voltage rails.
                     The M21163 is offered in a green and RoHS compliant 17 mm x 17 mm,
                     252-pin, thermally enhanced BGA package.

                                    IE & Loss of Signal Detection
                          AVDDIO0
                                                                          Crosspoint
                                                                             Core
                             DIO0                           IE                          DE
                                                                                        & Prog.
                                                                                        Swing     DOUT24
                                                                 DE
                                                                                        Ctrl

                                        DE & Programmable Swing Control




                                    IE & Loss of Signal Detection
                         AVDDIO23
                                                                                        DE
                                                                                        & Prog.
                            DIO23                           IE                          Swing     DOUT31
                                                                                        Ctrl
                                                                 DE


                                        DE & Programmable Swing Control




                                          Configuration & Control Registers            JTAG



                                                     M21163 Block Diagram
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                                     Features                                                                       Benefits
                                 8 fixed outputs and 24 reconfigurable IOs                                          Customized square and non-square matrix size
                                 Per port individually programmable input equalization and
                                                                                                                    Compensate for signal losses across various trace lengths
                                 output de-emphasis
                                 Per port individually programmable output swing control                            Optimized power consumption and performance for each
T E C H N I C A L D ET A I L S


                                                                                                                    application
                                 Per port individual powerdown control                                              Optimized power consumption for variety of applications
                                 Very low power operation (65 mW per channel @1.2V)                                  Ease of thermal management and reduced cost of operation
                                 DC and AC coupling at the input and output with
                                                                                                                    Design and layout flexibility
                                 integrated level shifter
                                 Integrated 50Ω input and output termination                                        Ease of design and layout and improved signal integrity
                                 Loss of Signal detection at the input                                              Diagnostic and debug feature
                                 Standard 2-wire and 4-wire serial digital interface                                Flexible control and configuration
                                 Industrial Operation Temperature range of -40°C to 85°C                            Robust Operation under a wide range of conditions




                                                                                                M21163 Pinout



                                 Package (RoHS Compliant)
                                 17mmx17mm 252-pin BGA Package

                                                                                                                  For more product information, please visit www.mindspeed.com


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